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1    Marshall Meyers (020584)
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6
     Attorney for Plaintiff

7
                               UNITED STATES DISTRICT COURT

8
                                FOR THE DISTRICT OF ARIZONA

9    Richard Mansfield,                   ) Case No.
10
                                          )
     Plaintiff,                           ) COMPLAINT AND TRIAL BY JURY
11                                        ) DEMAND
            vs.                           )
12
                                          )
13   Mercantile Adjustment Bureau, LLC and)
     RAzOR Capital II, LLC,               )
14
                                          )
15                                        )
     Defendants.
16

17
                                       NATURE OF ACTION
18
             1.    This is an action brought under the Fair Debt Collection Practices Act
19

20   (“FDCPA”), 15 U.S.C. § 1692 et seq.
21
                                   JURISDICTION AND VENUE
22
             2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23

24   1331.
25
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
26
     the acts and transactions giving rise to Plaintiff’s action occurred in this district, where
27

28   Plaintiff resides in this district, and/or where Defendants’ transact business in this district.




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1

2                                             PARTIES

3           4.     Plaintiff, Richard Mansfield (“Plaintiff”), is a natural person who at all
4
     relevant times resided in the State of Arizona, County of Maricopa, and City of Tempe.
5

6
            5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

7           6.     Defendant Mercantile Adjustment Bureau (“MAB”) is an entity which all
8
     relevant times was engaged, by use of the mails and telephone, in the business of
9
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10

11          7.     MAB is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
12
            8.     Defendant RAzOR Capital II, LLC (“RC”) is an entity who acquires debt in
13
     default merely for collection purposes, and who at all relevant times was engaged in the
14

15   business of attempting to collect a debt from Plaintiff.
16
            9.     RC is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
17
                                   FACTUAL ALLEGATIONS
18

19          10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
20
     owed or due, or asserted to be owed or due a creditor other than MAB.
21
            11.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be
22

23   owed or due a creditor other than MAB, arises from a transaction in which the money,

24   property, insurance, or services that are the subject of the transaction were incurred
25
     primarily for personal, family, or household purposes.
26

27
            12.    Plaintiff incurred the obligation, or alleged obligation, owed or due, or

28   asserted to be owed or due a creditor other than MAB.



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1           13.      MAB uses instrumentalities of interstate commerce or the mails in a
2
     business the principal purpose of which is the collection of any debts, and/or regularly
3

4
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be

5    owed or due another.
6
            14.      RC purchases debts once owed or once due, or asserted to be once owed or
7

8
     once due a creditor.

9           15.      RC acquired Plaintiff’s debt once owed or once due, or asserted to be once
10
     owed or once due a creditor, when the debt was in default.
11
            16.      RC is thoroughly enmeshed in the debt collection business, and RC is a
12

13   significant participant in MAB’s debt collection process.
14
            17.      In connection with collection of an alleged debt in default, MAB itself and
15
     on behalf of RC, sent Plaintiff initial written communication dated June 23, 2011, in
16

17   which Defendants stated, in relevant part, as follows:
18
                  “Unless you notify this office within 30 days after receiving this
19
                  notice that you dispute the validity of the debt or any portion thereof,
20

21                this office will assume the debt is valid. If you notify this office in
22                writing within 30 days from receiving this notice, this office will:
23
                  obtain verification of the debt or obtain a copy of a judgment and
24

25                mail you a copy of such judgment or verification. If you notify this

26                office in writing within 30 days after receiving this notice, this office
27
                  will provide you with the name and address of the original creditor,
28
                  if different from the current creditor.”


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1           18.    Defendant’s June 23, 2011 Correspondence failed to convey to Plaintiff
2
     that he must dispute the debt, or any portion thereof, in order for Defendant to be
3

4
     obligated to obtain verification of the debt or a copy of any judgment against Plaintiff and

5    mail a copy of such verification or judgment to Plaintiff.
6
            19.    Alternatively, the phrase “Unless you notify this office within 30 days after
7

8
     receiving this notice that you dispute the validity of the debt or any portion thereof” at the

9    beginning of the validation notice in Defendant’s June 23, 2011 letter modifies each
10
     subsequent statement in Defendant’s validation notice and requires Plaintiff to dispute the
11
     validity of the debt, or any portion thereof in order to obtain the name and address of the
12

13   original creditor. (emphasis added).
14
            20.    MAB, itself and on behalf of RC, called Plaintiff’s residential telephone on
15
     June 30, 2011, and at such time, MAB left a one second silent voicemail message in
16

17   which MAB failed to disclose the caller’s individual identity and further failed to disclose
18
     Defendants’ true corporate and/or business name.
19
            21.    In said message, MAB further failed to notify Plaintiff that the
20

21   communication was from a debt collector.
22          22.    Defendants’ actions constitute conduct highly offensive to a reasonable
23
     person, and as a result of Defendants’ behavior Plaintiff suffered and continues to suffer
24

25   injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or

26   emotional distress.
27

28




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1                                        COUNT I
2                              VIOLATION OF 15 U.S.C. § 1692d(6)
                                     DEFENDANT MAB
3

4
           23.      Plaintiff repeats and re-alleges each and every allegation above.

5          24.      MAB violated 15 U.S.C. § 1692d(6) by failing to disclose the caller’s true
6
     corporate or business name in a telephone call to Plaintiff. See Langdon v. Credit
7

8
     Management, LP, 2010 WL 3341860 (N.D.Cal. 2010) (where defendant calls plaintiff

9    and hangs up the phone, common sense dictates that defendant has not provided
10
     meaningful disclosure).
11
           WHEREFORE, Plaintiff prays for relief and judgment, as follows:
12

13               a) Adjudging that MAB violated 15 U.S.C. § 1692d(6);
14
                 b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
15
                    amount of $1,000.00;
16

17               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
18
                 d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
19
                    action;
20

21               e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
22                  allowed under the law;
23
                 f) Awarding such other and further relief as the Court may deem just and
24

25                  proper.

26                                       COUNT II
27
                               VIOLATION OF 15 U.S.C. § 1692e(11)
                                     DEFENDANT MAB
28
           25.      Plaintiff repeats and re-alleges each and every allegation above.


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1           26.      MAB violated 15 U.S.C. § 1692e(11) by failing to notify Plaintiff during
2
     each collection contact that the communication was from a debt collector.
3

4
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:

5                 a) Adjudging that MAB violated 15 U.S.C. § 1692e(11);
6
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
7

8
                     amount of $1,000.00;

9                 c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
10
                  d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
11
                     action;
12

13                e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
14
                     allowed under the law;
15
                  f) Awarding such other and further relief as the Court may deem just and
16

17                   proper.
18
                                        COUNT III
19                             VIOLATION OF 15 U.S.C. § 1692g(a)
                                     DEFENDANT MAB
20

21          27.      Plaintiff repeats and re-alleges each and every allegation above.
22          28.      MAB violated 15 U.S.C. § 1692g(a) et seq. by failing to notify Plaintiff that
23
     he must notify MAB in writing that he disputes the debt, or any portion thereof, in order
24

25   to obtain verification of the debt or a copy of a judgment against him.

26          29.      In the alternative, MAB violated 15 U.S.C.          § 1692g(a) et seq. by
27
     representing to Plaintiff that Plaintiff would be required to dispute the debt in order to
28
     obtain the name and address of the original creditor.


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1          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
2
                 a) Adjudging that MAB violated 15 U.S.C. § 1692g(a);
3

4
                 b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

5                   amount of $1,000.00;
6
                 c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
7

8
                 d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

9                   action;
10
                 e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
11
                    allowed under the law;
12

13               f) Awarding such other and further relief as the Court may deem just and
14
                    proper.
15
                                        COUNT IV
16
                               VIOLATION OF 15 U.S.C. § 1692d(6)
17                                    DEFENDANT RC
18
           30.      Plaintiff repeats and re-alleges each and every allegation above.
19
           31.      RC violated 15 U.S.C. § 1692d(6) by failing to disclose the caller’s true
20

21   corporate or business name in a telephone call to Plaintiff. See Langdon v. Credit
22   Management, LP, 2010 WL 3341860 (N.D.Cal. 2010) (where defendant calls plaintiff
23
     and hangs up the phone, common sense dictates that defendant has not provided
24

25   meaningful disclosure).

26         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
27
                 a) Adjudging that RC violated 15 U.S.C. § 1692d(6);
28




                                              Complaint - 7
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1                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
2
                    amount of $1,000.00;
3

4
                 c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

5                d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
6
                    action;
7

8
                 e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

9                   allowed under the law;
10
                 f) Awarding such other and further relief as the Court may deem just and
11
                    proper.
12

13                                      COUNT V
                              VIOLATION OF 15 U.S.C. § 1692e(11)
14
                                     DEFENDANT RC
15
           32.      Plaintiff repeats and re-alleges each and every allegation above.
16

17         33.      RC violated 15 U.S.C. § 1692e(11) by failing to notify Plaintiff during each
18
     collection contact that the communication was from a debt collector.
19
           WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20

21               a) Adjudging that RC violated 15 U.S.C. § 1692e(11);
22               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
23
                    amount of $1,000.00;
24

25               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

26               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
27
                    action;
28




                                              Complaint - 8
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1                 e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
2
                     allowed under the law;
3

4
                  f) Awarding such other and further relief as the Court may deem just and

5                    proper.
6
                                        COUNT VI
7                              VIOLATION OF 15 U.S.C. § 1692g(a)
8
                                      DEFENDANT RC

9           34.      Plaintiff repeats and re-alleges each and every allegation above.
10
            35.      RC violated 15 U.S.C. § 1692g(a) et seq. by failing to notify Plaintiff that
11
     he must provide notification in writing that he disputes the debt, or any portion thereof, in
12

13   order to obtain verification of the debt or a copy of a judgment against him.
14
            36.      In the alternative, RC violated 15 U.S.C. § 1692g(a) et seq. by representing
15
     to Plaintiff that Plaintiff would be required to dispute the debt in order to obtain the name
16

17   and address of the original creditor.
18
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
19
                  a) Adjudging that RC violated 15 U.S.C. § 1692g(a);
20

21                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
22                   amount of $1,000.00;
23
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
24

25                d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

26                   action;
27
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
28
                     allowed under the law;


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1              f) Awarding such other and further relief as the Court may deem just and
2
                  proper.
3

4
                                        TRIAL BY JURY

5        37.      Plaintiff is entitled to and hereby demands a trial by jury.
6

7

8
                  Respectfully submitted this 28th day of December, 2011

9                                By: s/ Marshall Meyers
                                 Marshall Meyers (020584)
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15

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                                             Complaint - 10
